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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §               LEAD CASE
                                      §
  AMERICAN HONDA MOTOR CO.,           §
  INC.                                §
                                      §
        Defendant.                    §
  ___________________________________ §
  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01881-JRG-RSP
                                      §
  vs.                                 §               CONSOLIDATED CASE
                                      §
  SUBARU OF AMERICA, INC.             §
                                      §
        Defendant.                    §
  ___________________________________ §

    UNOPPOSED MOTION TO DISMISS DEFENDANT SUBARU OF AMERICA, INC.
                           WITH PREJUDICE


         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure Rothschild Connected
  Devices Innovations, LLC (“RCDI”) files this Unopposed Motion to Dismiss Defendant Subaru
  of America, Inc. With Prejudice. All claims between the parties have been resolved.
         Wherefore, Rothschild moves this Court to dismiss this action and all claims by and
  between parties, with prejudice, with each party to bear its own costs, attorney’s fees and
  expenses and request that the Court enter the proposed order of dismissal submitted herewith.
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  Dated: July 12, 2016                           Respectfully submitted,
                                                 /s/ Jay Johnson
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                                                 ATTORNEYS FOR PLAINTIFF



                                  CERTIFICATE OF CONFERENCE

  The undersigned certifies that on July 12, 2016, he met and conferred with counsel for Defendant
  concerning this motion and that Defendant’s counsel agreed to the motion.

                                                 /s/ Jay Johnson
                                                 Jay Johnson

                                     CERTIFICATE OF SERVICE

  The undersigned certifies that all counsel of record who have consented to electronic service are being
  served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on July
  12, 2016.

                                                 /s/ Jay Johnson
                                                 Jay Johnson
